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NAME                                     RESIDENCE
Martha Accettullo                        AR
Mary J. Anderson                         AR
Tony Armour                              AR
Alysia Ashley                            AR
Aaron P. Baker                           AR
Georgia L. Baker                         AR
Kay Blake                                AR
Kenneth L. Bramlett                      AR
Ernie Brooks                             AR
Rita Brooks                              AR
Haywood Broomfield                       FL
Carson Bunch                             AR
Gwenna J. Byrum-Hill                     AR
Damon Carter                             AR
Russell T. Cephas                        AR
Karen M. Chancellor                      AR
Kevin W. Clark                           AR
Vera Colley, Est. Robert Colley          AR
Connie B. Cook                           AR
Coleen M. Craig                          AR
Larry W. Dauernheim                      AR
Kelly Deleon                             AR
Stacey Douglas                           AR
Debra Espey                              AR
David W. Faught                          AR
Jennifer Funderburg                      AR
Sherrial Gilbow                          AR
James E. Gilmore                         AR
Paul H. Golden                           AR
Kenneth Gross                            AR
Clennon C. Hall                          AR
Ethel M. Hall                            AR
Linda Hall                               AR
Lisa Harper                              AR
David Hartsell                           AR
Thomas Harvey                            AR
Romana Haynes                            AR
Thomas C. Henson                         AR
Dametria Igbonagwam, Est. Alesha Brown   AR
Tommy D. James                           AR
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Tatika Jernigan-Wilson                AR
Elroy L. Johnson                      AR
Carla Jones                           AR
Lovell L. Jones-Coleman               AR
Cassandra Knox                        AR
Mario Laspina                         AR
Tracy Lewis                           AR
Sherry K. Ligon                       AR
Vincent W. Ludacka                    AR
Leslie Luttrell                       AR
Jacqueline K. Manning                 GA
Barbara McAnally, Est. Van McAnally   MS
Vivian Meeks                          AR
William S. Moore                      AR
Wanda F. Nichols                      AR
Charles Northcutt                     AR
Lonnie J. Payne                       AR
Richardson Perdue                     AR
Linda Phipps                          AR
Rebecca A. Prince                     AR
Betty L. Siltman                      AR
Doris J. Smith                        AR
Harold Sprinkle                       AR
Jana Stephens                         AR
Jeffrey Taggart                       AR
Bular D. Taylor                       AR
Brenda Thompson                       AR
Betty Thurmond                        AR
Mark Turner                           AR
Annette White                         AR
Charles White                         AR
Jeffrey Wilkin                        AR
Brady L. Williams                     AR
Dexter Williams                       AR
Jimmie K. Williams                    AR
Leotis C. Williams                    AR
Ramal Williams                        AR
Sydney L. Williams                    LA
Kristina Wilson                       AR
Kathy Young                           AR
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Kamaliha Y. Brewster                     NV
Corrine M. Falk                          NV
Drew Gordon                              NV
Michele C. Grayson                       NV
Timothy L. Jackson                       NV
Mehmet Kilic                             NV
Ann E. Larkin                            NV
Sandra M. Logan                          CA
Daryl K. Nakamura                        NV
Dena D. Pina                             NV
Monica L. Saenz                          NV
Shelley M. Tarvan                        NV
Diane M. Valentino                       NV
John W. Wilhelm                          UT


Charles D. Girard, Sr.                   PA
Tuwanda V. Shakoor                       PA
Cynthia K. Myers, Est. Aldina Sweitzer   PA
Bonnie A. Volek                          PA
Robert D. Angel                          WV
Merrie E. Beavers                        TN
Denise D. Boyd                           OH
Willie G. Brewster                       OH
Catherine L. Brown                       TX
Felisha Carpenter                        WV
Lesa Carpenter                           WV
Vathana S. Chhiv                         CT
Nicholas Clark                           FL
Garry P. Clemons                         KY
Sharon L. Coburn                         NC
Richard W. Dodd                          WV
Christine M. Dozier                      FL
Jeffrey B. Drain                         WV
Foster A. Duzan                          WV
Shanna G. Ericsson-Harkness              VA
Eugene J. Fay                            CA
Robert D. Gangi                          TX
Joseph P. Graham                         MD
Janet Hargett                            FL
Zola Hatfield                            WV
Beth A. Howard                           WV
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Patricia L. Hunter                               KY
Mary J. Kestner                                  WV
Kenneth M. Knauff                                OH
Barbara A. Knowlton                              WV
Debra F. Leger                                   LA
Donald L. Lockhart                               WV
Mary A. Lueker, Est. Michael S. Gerla            IL
Freddie B. Lytle                                 MO
Joshua A. Martinez, Est. Teresa Huff             NM
Bryan A. May                                     IN
Marlene K. McIntyre                              WV
Kimberly D. McKenzie                             WV
Sandra D. McMahon-Lough                          MD
Michelle L. Moats                                WV
Michael J. Moscato                               AL
Jennifer Napoli-Branson, Est. Sherry Groves      CA
Sherry Pastine, Est. Samuel Pastine              WV
Barbara M. Pfaff-Melani, ANF Nikko A. Gonzalez   VA
Donna M. Pitzer                                  WV
Melissa S. Ratz                                  WV
Tonya R. Riddle                                  WV
Sherman D. Robinson                              WV
Donald H. Scheidt                                IN
John W. Scurlock                                 OH
Herman C. Segle                                  OH
Teina M. Shaffer                                 WV
Debra R. Smith                                   WV
Kenneth C. Smith                                 NY
Donnie L. Statom                                 KY
Carolyn C. Taylor                                WV
Caryl A. Taylor                                  FL
Edward C. Thibodeau                              FL
Melissa L. Vice                                  MD
Christopher E. Wagoner                           WV
Helen S. Wine                                    WV
Theresa A. Williams                              MS


Virgil L. Anderson                               SC
Melissa W. Barkley                               SC
Beth A. Bellino                                  SC
Tosha R. Best                                    NC
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Joe N. Blake                          SC
Carmen L. Bolton                      SC
Joy N. Boyer                          SC
Susan L. Brazell                      SC
Patricia L. Brockman                  SC
Anne D. Bruce                         CO
Bryan E. Burnett                      SC
Pamela S. Calvert                     SC
Kimberly A. Campbell-Dean             SC
Lester C. Carr                        SC
Wilbur C. Conyers                     SC
Richard A. Crosby, Jr.                SC
James D. Davenport                    SC
Kimm J. Davis                         SC
David A. Day                          SC
Robert G. Devore                      SC
Loretta V. Dreher                     SC
Allison D. Dukes                      SC
Sharon K. Emmons                      SC
Sharon Y. Floyd                       SC
Georgia M. Fludd                      SC
Sonya M. Galloway                     SC
Monica S. Gann                        SC
Karen J. Greer                        SC
Christopher L. Hall                   SC
Rachel A. Hash                        NC
Debbie R. Hiers                       SC
Donald A. Hildebrand, Jr.             SC
Amy S. James                          SC
Latonya A. Jeffers                    SC
Cheryl W. Kirby                       SC
Dexter A. Lee                         NC
Janice W. Lee                         SC
George B. Lemacks                     SC
Stephanie A. Lowe                     SC
Darrin P. Marlow                      SC
Zina R. McCue                         SC
Autherine Middleton                   SC
Isiah E. Mitchell, Sr.                SC
Jason M. Mitchell                     SC
Lori L. Mocci                         SC
Robert J. Moses                       SC
Earnestine Parker                     SC
Barbara T. Payne                      SC
Mary K. Perry                         SC
David W. Pettit                       SC
Mary J. Pickett                       SC
Mary Pittman, Est. Stacy Pittman      SC
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Craig G. Reaves                         SC
William J. Reed                         SC
Jarvis L. Richberg                      SC
Monica Ridgeway, Est. Ronald Ridgeway   SC
Jacqueline Sanders                      SC
Florence Y. Seagraves                   SC
Robert L. Small                         SC
Kathaleen B. Smalls                     SC
Dorothy E. Smith                        SC
Earvin N. Smith                         SC
Robert N. St. Hilaire                   CO
Ezell Summers                           SC
Willie R. Thames                        SC
Joseph O. Washington, III               SC
Edgar J. Watson                         NC
David D. Weatherford                    SC
Louis M. Weger                          SC
Dexter P. Wigfall                       SC
